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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA               )
v.                                     )
RUDOLPH ELLIS                          )     2:95-CR-129-JHH-TMP


     MEMORANDUM OF DECISION REGARDING ORDER DENYING
        MOTION TO REDUCE TERM OF IMPRISONMENT
       The movant, acting pro se, filed a motion for reduction of term of

imprisonment (Doc. # 1656) on March 3, 2008, requesting that this court modify

or reduce his sentence pursuant to 18 U.S.C. § 3582, commonly called the

retroactive Crack Amendment. For the reasons stated herein, the court concludes

that the motion for reduction of sentence should be DENIED, and a separate order

to that effect will be entered.

       In May 2007, the U. S. Sentencing Commission (U.S.S.C.) submitted a group

of proposed amendments to the Sentencing Guidelines as they have done annually

since 1987. One of these amendments, #706, represented the U.S.S.C.’s attempt

to mitigate the sentencing disparity for defendants convicted of crack cocaine

offenses as opposed to powder cocaine offenses. In the absence of congressional

action to amend the 100:1 ratio found in the Title 21 statutes, the U.S.S.C.

proposed a method to reduce the potential sentences by lowering the applicable


                                       1
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      guidelines for quantities of crack by two levels, thereby creating a ratio ranging

      from about 25:1 to about 80:1 within the Guidelines framework.

                  All of the proposed amendments, including the Crack Amendment, became

      effective on November 1, 2007.1 Then in December 2007, following a period of

      public discussion, the U.S.S.C. decided to make the Crack Amendment retroactive.

      The effective date for retroactive application of the Crack Amendment became

      March 3, 2008. The U.S.S.C. also amended Guideline § 1B1.10 to include the

      Crack Amendment (hereinafter referred to as “the amended policy statement”). As

      such, as of March 3, 2008, the Crack Amendment and amended policy statement

      apply to all relevant sentences, old and new. All of this was done pursuant to the

      U.S.S.C.’s authority found at 28 U.S.C. § 994(u) and 18 U.S.C. § 3582(c).

                  With that background, the court now turns to the current motion (Doc.

      #1656) of Rudolph Ellis to modify his term of imprisonment under 18 U.S.C. §

      3582(c)(2). The motion seeks the benefit of the Crack Amendment and the

      amended policy statement.

                  The focus of the § 3582(c)(2) motion is the LIFE sentence imposed upon

      movant under Counts 2, 101, and 102.2 Movant was found guilty of these charge

      and was sentenced on May 30, 1996.


        1
            At this point, none of the amendments had any retroactive effect.

         2
           The movant was also convicted in Count 74 and was sentenced to 20 years to be served concurrently to the sentence
in counts 2, 101, an 102.
                                                             2
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               The following chart sets forth the application of the crack amendment to the

      instant case:

                                                 Original Sentence                              Retroactive
                                                                                                 Sentence
                                                                                                Adjustment
        Total Offense                                     45                                           43
        Level
        Criminal History                                  V                                            V
        Category
        Imprisonment                                      LIFE                                          LIFE
        Range
        Sentence Imposed                LIFE counts 2, 101,& 102
                                        20 yrs cc in ct. 74
        Projected Release                                   N/A
        Date

                        A review of the sentencing issues now confronting this court

      includes, but is not limited to, the following:

               1. the movant originally faced a combined sentence of LIFE; and

               2. application of the amended guideline to the facts of this case does not

               change the guideline “range” of LIFE;

               Pursuant to U.S.S.G § 1B1.10, this court finds that the movant is not

      eligible for consideration for a reduction in sentence pursuant to 18 U.S.C. §

      3582(c)(2). 3




          3
            U.S.S.G. § 1B1.10(a)(2)(B) states as follows: Exclusions. –A reduction in the defendant’s term of imprisonment is
not consistent with this policy statement and therefore is not authorized under 18 U.S.C. § 3582(c)(2) if–... (B) an amendment
listed in subsection (c) does not have the effect of lowering the defendant’s applicable guideline range.
                                                                  3
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      A separate order will be entered denying the motion. Movant’s attention

is directed to the “Notice Concerning Appeals” set out below.

                   NOTICE CONCERNING APPEALS

      A § 3582(c) motion is considered a continuation of the criminal

proceeding. A notice of appeal must be filed within ten days from the entry of

the judgment or order being appealed. See United States v. Fair, 326 F.3d 1317,

1318 (11th Cir. 2003); United States v. Starks, 2008 WL 351386 (11th Cir. 2008);

Fed.R.App.P. 4(b)(1)(A)(i). If the movant was represented by appointed counsel

in the Northern District of Alabama at trial or on appeal, movant will not be

required to file a new application to proceed in forma pauperis on appeal from

the denial of the § 3582(c)(2) motion. That status will be granted for appeal

purposes. If movant was represented by counsel at trial or on direct appeal but

believes he is now unable to afford counsel, movant should file an application to

proceed in forma pauperis (accompanied by a certified copy of prison account

statements for the last six months) when a notice of appeal from the denial of

the § 3582(c)(2) motion is filed. The Clerk is DIRECTED to provide the

movant with an application to proceed in forma pauperis.

      DONE this the     1st       day of July, 2008.




                                SENIOR UNITED STATES DISTRICT JUDGE



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